Case: 25-1569 Document: 13 Page: 1 Date Filed: 04/07/2025

TRANSCRIPT PURCHASE ORDER
for Third Circuit Court of Appeals

District Court District of New Jersey Court of Appeals Docket No. 25-1569
District Court Docket No. 24-cv-4261

Short Case Title Athas Data Privacy Corp., et al. v. Equimine, Inc.

Date Notice of Appeal Filed by Clerk of District Court March 28, 2025

{ Part I. (To be completed by party responsible for ordering transcript) NOTE: A SEPARATE FORM IS TO BE TYPED FOR )
A. Check one of the following and serve ALL COPIES: EACH COURT REPORTER IN THIS CASE.
TRANSCRIPT:
None Unnecessary for appeal purposes.

x Already on file in the District Court Clerk’s office.

This is to order a transcript of the proceedings heard on the date listed below from {Court Reporter)

(Specify on lines below exact date of proceedings to be transcribed). If requesting only partial transcript of the proceedings, specify exactly what
portion or what witness testimony is desired.

If proceeding to be transcribed was a trial, also check any appropriate box below for special requests; otherwise, this material will NOT be
included in the trial transcripts.

Voir dire Open Statement of Plaintiff Opening Statement of Defendant
Closing Argument of Plaintiff Closing Argument of Defendant
Jury Instructions Sentencing Hearings

FAILURE TO SPECIFY IN ADEQUATE DETAIL THOSE PROCEEDINGS TO BE TRANSCRIBED OR FAILURE TO
MAKE PROMPT SATISFACTORY FINANCIAL ARRANGEMENTS FOR TRANSCRIPT ARE GROUNDS FOR
DISMISSAL OF THE APPEAL OR IMPOSITION OF SANCTIONS

B. This is to certify that satisfactory financial arrangements have been completed with the court reporter for payment of the cost of the transcript.
The method of payment will be:

CJA Form submitted to District Court Judge __—S- Motion for Transcript has been submitted to District Court
CJA Form submitted to Court of Appeals Ss» Private Funds
signature s/ Kevin R. Reich ate April 7, 2025
Print Name Kevin R. Reich, Esq. Counsel for Appellant Equimine, Inc.
Address Gibbons P.C., One Gateway Ctr., Newark, NJ 07102 Telephone 973-596-4755
> art II. COURT REPORTER ACKNOWLEDGEMENT (To be completed by the Court Reporter and forwarded to the Court of <

Appeals on the same day transcript order is received.)

Date transcript order Estimated completion date; if not within 30 days of date financial arrangements Estimated number
received made, motion for extension to be made to Court of Appeals of pages

Arrangements for payment were made on

Arrangements for payment have not been made pursuant to FRAP 10{b)

- Date Name of Court Report Telephone J
P )

art III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by court reporter
on date of filing transcript in District. Court Notification must be forwarded to the Court of Appeals on the same date.)

Actual Number of Pages Actual Number of Volumes

\ Date Signature of Court Reporter SS

